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                              UNITED STATES BANKRUPTCY COURT
                               NORTHERN DISTRICT OF GEORGIA
                                      ATLANTA DIVISION


IN RE:                                              :           CASE NO. 21-54965-LRC
                                                    :
MICHAEL SCOT FLECK,                                 :           CHAPTER 7
                                                    :
         Debtor.                                    :
                                                    :


 MOTION FOR ORDER AUTHORIZING SETTLEMENT BETWEEN TRUSTEE AND
JPMORGAN CHASE BANK, N.A. UNDER RULE 9019 OF THE FEDERAL RULES OF
                    BANKRUPTCY PROCEDURE

         COMES NOW S. Gregory Hays, Chapter 7 Trustee (“Trustee”) for the bankruptcy estate

(the “Bankruptcy Estate”) of Michael Scot Fleck (“Debtor”), by and through the undersigned

counsel, and files his Motion for Order Authorizing Settlement between Trustee and JPMorgan

Chase Bank, N.A. under Rule 9019 of the Federal Rules of Bankruptcy Procedure (the

“Settlement Motion”). In support of the Settlement Motion, Trustee respectfully shows the

Bankruptcy Court as follows:

                                        Jurisdiction and Venue

         1.        This Bankruptcy Court has jurisdiction over this Settlement Motion under 28

U.S.C. §§ 157 and 1334. Venue of this case in this District is proper under 28 U.S.C. §§ 1408

and 1409. The statutory predicate for the relief sought in this Settlement Motion is Rule 9019 of

the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”). This Settlement Motion

is a core proceeding under 28 U.S.C. § 157(b)(2).

                                              Background

         2.        On July 1, 2021 (the “Petition Date”), Debtor filed a voluntary petition for relief

under Chapter 7 of Title 11 of the United States Code, 11 U.S.C. §§ 101 et seq. (as amended,



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modified, or supplemented, “Bankruptcy Code”) in the United States Bankruptcy Court for the

Northern District of Georgia, Atlanta Division (“Bankruptcy Court”), initiating Chapter 7 Case

No. 21-54965-LRC (the “Bankruptcy Case”).

         3.    By virtue of a Warranty Deed (the “Warranty Deed”) dated October 29, 2009,

Debtor was granted sole ownership in a certain real property and improvements with a common

address of 819 Durant PL, NE, #8, Atlanta, Georgia (the “Property”).

         4.    On or about July 25, 2018, Debtor executed a Security Deed (the “Chase

Security Deed”) in favor of JPMorgan Chase Bank, N.A. (“Chase”), conveying an interest in

the Property to secure a debt (the “Chase Debt”) in the original principal amount of $113,695.00

(the “Chase Transfer”).

         5.    The Chase Security Deed was recorded in the Real Estate Records on August 10,

2018 beginning at Page 436 of Deed Book 59112.

         6.    Trustee asserts that the execution of the Chase Security Deed by Debtor was not

attested by an official witness as required by O.C.G.A. §§ 44-14-61 and 62 (2015) and that this

defect in attestation is apparent on the face of the Chase Security Deed.

         7.    On or about May 5, 2021, Debtor executed a Limited Warranty Deed (the

“Limited Warranty Deed”), transferring the Property to Shun Kwan Phoebe (the “Sale”) for a

purchase price of $194,000.00 (the “Sale Proceeds”).

         8.    Also on May 5, 2021, Debtor caused $110,599.00 of the Sale Proceeds to be

transferred to Chase to pay the Chase Debt in full (the “Chase Payment”).

         9.    On December 17, 2021, Trustee filed a complaint (the “Complaint”) against,

among other parties, Chase and initiated the adversary proceeding styled as Hays v. JPMorgan

Chase Bank, N.A., et al. (Adv. Pro. No. 21-5150-LRC) (the “Adversary Proceeding”), in which



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Trustee has asserted, among other things, that the Chase Transfer and Chase Payment are

avoidable and recoverable by Trustee for the benefit of the Bankruptcy Estate, under 11 U.S.C.

§§ 547, 550, and 551 (the “Preference Issues”).

         10.   On February 21, 2022, Trustee filed an amended complaint [Doc. No. 11] (the

“Amended Complaint”) in the Adversary Proceeding.

         11.   Chase has filed an answer to the Amended Complaint and contests Trustee’s

claims related to the avoidability and recoverability of the Chase Transfer and Chase Payment.

                                   The Proposed Settlement

         12.   Following negotiations, Trustee and Chase (collectively, the “Parties”) reached

an agreement (the “Settlement Agreement”) to resolve the Preference Issues raised by Trustee

against Chase, subject to Bankruptcy Court approval. A copy of the Settlement Agreement is

attached as Exhibit “A” to this Settlement Motion and is incorporated herein by reference.

Significant terms of the Settlement Agreement follow:1

                  a. Within 10 days of the Settlement Approval Order becoming final, Chase
                     shall cause First American Title Insurance Company, on behalf of Chase,
                     to pay Trustee $87,500.00 in good funds2 (the “Settlement Funds”) in
                     one lump sum payment, by delivery of an official check to Trustee in the
                     amount of $87,500.00 made payable to “S. Gregory Hays, Trustee
                     (Fleck).”3

                  b. Effective upon Trustee’s receiving the $87,500.00 Settlement Funds in
                     good funds and the Settlement Approval Order becoming a final order,
                     and except for the rights, duties, and obligations created or preserved
                     under the Settlement Agreement, Trustee releases, acquits, and forever

1
       The following is a summary of the Settlement Agreement and is not intended to be
comprehensive. To the extent that anything in this summary is contrary to the terms of the
Settlement Agreement, the Settlement Agreement shall control.
2
       Payment of the $87,500 Settlement Funds is being paid under Chase’s title insurance
policy with First American Title Insurance Company.
3
      Capitalized terms not otherwise defined in this Settlement Motion shall have the
meanings ascribed to them in the Settlement Agreement.

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                      discharges Chase from any and all Claims (as defined in Section 9 of the
                      Settlement Agreement) of any kind, character, or nature whatsoever,
                      known or unknown, fixed or contingent, that Trustee may have or claim to
                      have against Chase prior to the Effective Date.

                  c. Effective upon the Settlement Approval Order becoming a final order, and
                     except for the rights, duties, and obligations created or preserved under the
                     Settlement Agreement, Chase releases, acquits, and forever discharges
                     Trustee and the Bankruptcy Estate and each and every past and present
                     agent, servant, employee, representative and attorney of Trustee or the
                     Bankruptcy Estate from any and all Claims (as defined in Section 9 of the
                     Settlement Agreement) of any kind, character or nature whatsoever,
                     known or unknown, fixed or contingent, that Chase may have or claim to
                     have against Trustee or the Bankruptcy Estate prior to the Effective Date.
                     The release provided by this Section 2.4 of the Settlement Agreement shall
                     not affect Chase’s right to a general unsecured claim against the
                     Bankruptcy Estate as provided in Section 2.5 of the Settlement
                     Agreement.

                  d. The Parties stipulate and agree that effective upon Trustee’s receipt of the
                     $87,500.00 Settlement Funds from Chase, Chase shall have a non-priority,
                     timely filed, general unsecured claim in the amount of $87,500.00 in the
                     Bankruptcy Case against the Bankruptcy Estate.

                  e. Within ten (10) business days of the later of: (a) the Settlement Approval
                     Order becoming a final order, or (b) Trustee’s receiving the Settlement
                     Funds from Chase, Trustee and Chase shall file a stipulation, or other
                     necessary paper, seeking dismissal with prejudice of the claims that
                     Trustee has raised against Chase in the Adversary Proceeding.

                                       Relief Requested

         13.   By this Settlement Motion, Trustee requests that the Bankruptcy Court approve

the Settlement Agreement between the Parties.

                                        Basis for Relief

         14.   Federal Rule of Bankruptcy Procedure 9019(a) provides, in pertinent part, that

“[o]n motion by Trustee and after notice of a hearing, the court may approve a compromise or

settlement.” Fed. R. Bankr. P. 9019(a). The standard in this Circuit for determining whether to

approve a compromise or settlement pursuant to Rule 9019(a) is set forth in Wallis v. Justice



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Oaks II, Ltd. (In re Justice Oaks II, Ltd.), 898 F.2d 1544 (11th Cir. 1990), cert. denied, 498 U.S.

959 (1990), in which the Eleventh Circuit stated as follows:

         When a bankruptcy court decides whether to approve or disapprove a proposed
         settlement, it must consider:

               (a) The probability of success in the litigation; (b) the difficulties,
               if any, to be encountered in the matter of collection; (c) the
               complexity of the litigation involved, and the expense,
               inconvenience and delay necessarily attending it; (d) the
               paramount interest of the creditors and a proper deference to their
               reasonable views in the premises.

Id. at 1549. In making its evaluation, a court must not rest its approval of the settlement on a

resolution of the ultimate factual and legal issues underlying the compromised disputes. In re

Teltronics Servs., Inc., 762 F.2d 185, 189 (2d Cir. 1985). Rather, the court should consider the

probable outcome of the litigation, including its advantages and disadvantages, and make a

pragmatic decision based on all equitable factors. Florida Trailer and Equip. Co. v. Deal, 284

F.2d 567, 571 (5th Cir. 1960).4

         15.   The proposed settlement between the Parties is the product of arms’ length

negotiations and reflects the Parties’ analysis and consideration of the relevant legal, factual, and

economic issues.

         16.   Given the potential expense of litigating the claims raised by Trustee and the

contingent nature of the same, in the event that the claims that are proposed to be settled are

instead prosecuted, the amount of time that such litigation will require, the delay before the final

outcome is known (including the time necessary for any potential appeals), and the complexity

and uncertain resolution of factual and legal disputes, settlement on the terms described in the



4
        In Bonner v. City of Prichard, 661 F.2d 1206, 1207 (11th Cir. 1981) (en banc), the
Eleventh Circuit Court of Appeals adopted as binding precedent the decisions of the former Fifth
Circuit issued before October 1, 1981.

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Settlement Agreement is a proper exercise of the Trustee’s business judgment and in the best

interests of the Bankruptcy Estate.

         17.    Trustee estimates that the proposed Settlement Agreement will allow him to make

a meaningful distribution to holders of timely filed, non-priority, general unsecured claims.

         18.    Under the standard set forth above and for the reasons previously detailed in this

Settlement Motion, Trustee urges that this Bankruptcy Court approve the Settlement Agreement.

         WHEREFORE, Trustee respectfully requests that the Bankruptcy Court enter an Order (i)

granting this Settlement Motion; (ii) authorizing Trustee to take actions reasonably necessary to

effectuate the terms of the Settlement Agreement; and (iii) granting to the parties such other and

further relief that the Court deems just and appropriate.

         Respectfully submitted, this 1st day of July, 2022.

                                                      ARNALL GOLDEN GREGORY LLP
                                                      Attorneys for Trustee

                                                      By: /s/ Michael J. Bargar
171 17th Street, NW, Suite 2100                            Michael J. Bargar
Atlanta, GA 30363                                          Georgia Bar No. 645709
(404) 873-8500                                             michael.bargar@agg.com




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                             EXHIBIT “A” FOLLOWS




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                                   CERTIFICATE OF SERVICE

         This is to certify that I, Michael J. Bargar, am over the age of 18 and that I have this day
served a true and correct copy of the foregoing Motion for Order Authorizing Settlement between
Trustee and Chase Lending LLC under Rule 9019 of the Federal Rules of Bankruptcy Procedure
by first class United States mail on the following persons or entities at the addresses stated:

Office of the United States Trustee
362 Richard B. Russell Building
75 Ted Turner Drive, SW
Atlanta, GA 30303

S. Gregory Hays
Hays Financial Consulting, LLC
2964 Peachtree Rd, NW, Suite 555
Atlanta, GA 30305

Stephanie K. Sheppard
Sheppard Legal Services, LLC
1141 Sheridan Road, NE
Atlanta, GA 30324-3714

Michael Scot Fleck
518 Grist Valley Lane
Cary, NC 27518

Tania R. Tuttle
McLain & Merritt, PC
11625 Rainwater Drive, Ste 125
Alpharetta, GA 30009


         This 1st of July, 2022.
                                                              /s/ Michael J. Bargar
                                                              Michael J. Bargar
                                                              Georgia Bar No. 645709




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